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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLORADO

Criminal Case No. 16-cr-00341-CMA

UNITED STATES OF AMERICA,

      Plaintiff,

v.

David Ansberry,

      Defendant.


 RESPONSE TO COURT ORDER GRANTING MOTION TO CONTINUE


      David Ansberry, by and through counsel, Abraham Hutt of Recht

Kornfeld, P.C. and Colette Tvedt, respectfully files the following Response

to Court Order Granting Motion to Continue, Document No. 67. Counsel for

Mr. Ansberry inform the court as follows:

      1.     Counsel received the Court’s Order granting the Government’s

Motion to Continue at the same time they received the Motion to Continue.

It had been their intention today to state they did not object to the one week

continuance requested by the Government, subject to the availability of two

expert witnesses essential for Mr. Ansberry.
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      2.    Neither defense counsel is available on October 31st and

November 1st because of previously scheduled trial and travel for

professional purposes.

      3.    The Court should take notice that Ms. Tvedt starts a first degree

murder trial on October 1st in Arapahoe County District Court. She is also

starting a first degree murder trial on October 22nd in Denver District Court.

      4.    Mr. Ansberry therefore requests that the court allow all counsel

to confer with its clerk to determine a date for the sentencing hearing at

which all counsel and all essential witnesses can be present.

      5.    Both parties would like the opportunity to confer with the clerk

as soon as possible in order to find a mutually convenient date as soon as

possible, and to notify our respective experts.



      WHEREFORE, Defendant Ansberry respectfully requests this Court’s

permission to allow all counsel to confer with its clerk to determine a date

for the sentencing hearing.
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Respectfully submitted this 2nd day of August, 2018,


s/ Abraham Hutt
ABRAHAM HUTT
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                       CERTIFICATE OF SERVICE

       I hereby certify that on this 2nd day of August, 2018, I electronically
filed the foregoing Response to Court Order Granting Motion to
Continue with the Clerk of Court using the CM/ECF system which will send
notification of such filing to all listed parties.



s/ Erin Holweger
Erin Holweger
